        Case 1:23-cv-00323-DKG            Document 57   Filed 02/27/25      Page 1 of 10




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                             IN THE UNITED STATES DISTRICT COURT

                                     FOR THE DISTRICT OF IDAHO

LOURDES MATSUMOTO, NORTHWEST
ABORTION ACCESS FUND, and                           Case No. 1:23-cv-00323-DKG
INDIGENOUS IDAHO ALLIANCE,

                       Plaintiffs,                 REPLY IN SUPPORT OF MOTION TO
                                                   MODIFY INJUNCTION
         v.

RAÚL LABRADOR, in his capacity as the
Attorney General for the State of Idaho,

                       Defendant.




REPLY IN SUPPORT OF MOTION TO MODIFY INJUNCTION - 1
128055417.1 0099880-01499
        Case 1:23-cv-00323-DKG          Document 57        Filed 02/27/25       Page 2 of 10




         Defendant Raul Labrador, the Idaho Attorney General, asserts that Plaintiffs’ proposed

modified injunction “goes far beyond what the Ninth Circuit decision allows.” See Defendant’s

Response to Plaintiffs’ Motion to Modify Injunction (“Response”), at 1. Defendant further claims

that, rather than enter an order that “state[s] its terms specifically” and “describe[s] in reasonable

detail … the act or acts restrained,” 1 this Court should simply enter an injunction enjoining

enforcement of the recruiting prong of Idaho Code § 18-623 (without providing any further

guidance or description of what acts are subsumed within this portion of the statute). Response,

at 2.

         This Court should decline Labrador’s invitation. The Defendant’s proposal would

contravene the requirements of specificity and a detailed description of enjoined activity required

by Federal Rule of Civil Procedure 65(d). Plaintiffs’ proposed order, in contrast, meets these

requirements. In addition, Plaintiffs’ proposed order is not, as the Defendant claims, any departure

from the Ninth Circuit’s decision in this case. To the contrary, every provision in Plaintiffs’

proposed modified preliminary injunction was taken from the language of the opinion. 2 This Court

should grant Plaintiffs’ Motion (Dkt. 55) and enter Plaintiffs’ proposed modified preliminary

injunction. (Dkt. 55-1).




1 See F.R.C.P. 65(d)(B), (C).
2
  In order to avoid unnecessary disputes regarding whether Plaintiffs’ proposed modified injunction
follows the Ninth Circuit opinion, Plaintiffs submitted to this Court and opposing counsel an
annotated version of the proposed preliminary injunction as an exhibit. Dkt. 55-2. This annotated
version includes footnotes with pinpoint citation to where the relevant language appears in the
Ninth Circuit decision. As a result, it is confounding that the Defendant argues that the “proposed
injunction goes far beyond what the Ninth Circuit decision allows,” given that the language
contained within the proposed injunction comes from the Ninth Circuit decision itself.

REPLY IN SUPPORT OF MOTION TO MODIFY INJUNCTION - 2
128055417.1 0099880-01499
        Case 1:23-cv-00323-DKG            Document 57       Filed 02/27/25      Page 3 of 10




                                            ARGUMENT

         This Court should enter Plaintiffs’ proposed modified preliminary injunction because it

meets the requirements of Rule 65(d), provides the requisite notice to those charged with

enforcement of Idaho Code § 18-623 as to what enforcement actions are prohibited, and provides

adequate redress against the harms of overbreadth as identified by the Ninth Circuit in this case.

Defendant’s proposed order does not meet Rule 65(d)’s requirements and should be rejected by

the Court.


I.       The Defendant’s proposed modified injunction violates the requirement of specificity
         and detailed description of enjoined acts as laid out in F.R.C.P. 65(d); Plaintiffs’
         proposed modified injunction meets these standards and provides appropriate
         guidance to those tasked with enforcement of Idaho Code § 18-623.

         Federal Rule of Civil Procedure 65 governs injunctions and restraining orders in civil cases.

Among its provisions are a set of requirements for the scope and content of any injunction. A civil

injunction, under this Rule, must:

         (A) state the reasons why it issued;

         (B) state its terms specifically; and

         (C) describe in reasonable detail--and not by referring to the complaint or other
             document--the act or acts restrained or required.

See F.R.C.P. 65(d). The requirements of specificity and a detailed description of the acts being

restrained are not idle pronouncements. They serve important functions for those who are subject

to the order:

         Rule 65(d) requires every order granting an injunction to state its terms specifically
         and describe in reasonable detail—and not by referring to the complaint or other
         document—the act or acts restrained or required. The Rule was designed to
         prevent uncertainty and confusion on the part of those faced with injunctive
         orders. Because an injunction prohibits conduct under threat of judicial
         punishment, basic fairness requires that those enjoined receive explicit notice
         of precisely what conduct is outlawed. Under this standard, we have held


REPLY IN SUPPORT OF MOTION TO MODIFY INJUNCTION - 3
128055417.1 0099880-01499
        Case 1:23-cv-00323-DKG            Document 57         Filed 02/27/25      Page 4 of 10




         injunctions to be too vague when they enjoin all violations of a statute in the abstract
         without any further specification, or when they include, as a necessary descriptor
         of the forbidden conduct, an undefined term that the circumstances of the case do
         not clarify. Even if it tracks statutory language, a general injunction is not too vague
         if it relates the enjoined violations to the context of the case. Indeed, we must
         always apply the fair notice requirement in the light of the circumstances
         surrounding the injunction's entry: the relief sought by the moving party, the
         evidence produced at the hearing on the injunction, and the mischief that the
         injunction seeks to prevent.

United States v. Philip Morris USA Inc., 566 F.3d 1095, 1137 (D.C. Cir. 2009) (cleaned up)

(emphasis added). An injunction fails to meet the requirements of Rule 65(d) if its terms are

nothing more than a “generalized injunction to obey the law”. Id.

         If the terms of an injunction are non-specific or insufficiently tailored to the acts being

enjoined, the injunction is non-enforceable:

          As we have emphasized in the past, the specificity provisions of Rule 65(d) are no
         mere technical requirements. The Rule was designed to prevent uncertainty and
         confusion on the part of those faced with injunctive orders, and to avoid the possible
         founding of a contempt citation on a decree too vague to be understood. Since an
         injunctive order prohibits conduct under threat of judicial punishment, basic
         fairness requires that those enjoined receive explicit notice of precisely what
         conduct is outlawed.

Schmidt v. Lessard, 414 U.S. 473, 476 (1974) (cleaned up). In Schmidt, the United States Supreme

Court reviewed an injunction that enjoined enforcement of the then-existing Wisconsin statutory

scheme for involuntary commitments. Id. at 474. The Court held that this generalized prohibition

against enforcement of the statute fell fatally short of the required degree of specificity:

         The order here falls far short of satisfying the second and third clauses of Rule
         65(d). Neither the brief judgment order nor the accompanying opinion is specific
         in outlining the terms of the injunctive relief granted; nor can it be said that the
         order describes in reasonable detail the act or acts sought to be restrained. Rather,
         the defendants are simply told not to enforce the present Wisconsin scheme
         against those in the appellee's class.

Lessard, 414 U.S. at 476 (cleaned up).




REPLY IN SUPPORT OF MOTION TO MODIFY INJUNCTION - 4
128055417.1 0099880-01499
        Case 1:23-cv-00323-DKG          Document 57        Filed 02/27/25       Page 5 of 10




         Defendant’s proposed modified injunction suffers from the same fatal flaw as that

identified by the United States Supreme Court in Lessard. Defendant asks this Court for an order

that, in essence, states that enforcement of one very broad component of a statute may not be

enforced, while also objecting to this Court describing the specific actions that have been

determined by the Ninth Circuit to fall within the statute’s “recruitment” provisions. The

Defendant’s proposal contravenes the legal standards that apply to this Court’s discretion.

         It is also curious that Defendant claims that supplying a specific, reasonably detailed

description of what is being enjoined would “introduce substantial uncertainty in the enforcement

of the statute.” Response, at 1. As noted by the Court in Lessard, the opposite is actually true. The

trial court must “carefully frame[ ] its orders of injunctive relief,” otherwise the order may be “too

vague to be understood” and sow “uncertainty and confusion on the part of those faced with

injunctive orders.” 414 U.S. at 476-77. If the Defendant is truly concerned with providing clarity

to those charged with enforcing Idaho Code § 18-623, then a more detailed and specifically tailored

injunction should be what he is seeking. Instead, he asks for the opposite.

         Plaintiffs’ proposed modified injunction has laid out, in the terms of the Ninth Circuit

opinion in this case, 3 those actions the Ninth Circuit found to be within the scope of the



3 Because the language of the Plaintiffs’ proposed modified preliminary injunction is merely a

reiteration of the Ninth Circuit’s language from its decision, it is unclear why or how Labrador can
claim that this proposed order would “contradict the mandate” of this same opinion. See Response,
at 2. The case law cited by Defendant for this proposition actually provides further support for the
Plaintiffs’ proposed injunction. In Stacy v. Colvin, the Ninth Circuit discussed the “rule of
mandate”—i.e., the rule that any “district court that has received the mandate of an appellate court
cannot vary or examine that mandate for any purpose other than executing it.” 825 F.3d 563, 467-
68 (9th Cir. 2016). While Defendant’s analysis appears to have stopped there, the following
sentence from Stacy is even more important for this Court: “The district court may, however,
decide anything not foreclosed by the mandate.” Id. at 568. The mandate from the Ninth Circuit
decision in this case was for this Court to “modify the preliminary injunction consistent with this
opinion.” Matsumoto, 122 F.4th at 816 (emphasis added). Plaintiff’s proposed modified
preliminary injunction fulfils this mandate.

REPLY IN SUPPORT OF MOTION TO MODIFY INJUNCTION - 5
128055417.1 0099880-01499
        Case 1:23-cv-00323-DKG          Document 57        Filed 02/27/25       Page 6 of 10




“recruitment” prong of Idaho Code § 18-623. The Ninth Circuit expressly canvassed the acts

falling within this provision in order to adequately address the facial overbreadth issue.

Matsumoto, 122 F.4th at 807-08 (“The statute's coverage therefore depends upon the meaning of

each of these words—recruiting, harboring, transporting—in the context of an adult procuring an

abortion for a minor without parental consent. We follow the approach of the Supreme Court and

this circuit to assess the scope and potential overbreadth of each term individually.”). Every

discreet action identified by the Plaintiffs in their proposed modified order is one that the Ninth

Circuit opinion either identifies as being within the rubric of “recruitment” under Idaho Code §

18-623, or an action that cannot be criminalized under the statute at all. 4 Plaintiffs’ detailed

accounting of the acts that are outside the scope of permissible enforcement meets with the

requirements of Rule 65(d), as well as the pertinent case law requiring specificity for all

injunctions.

II.      Plaintiffs’ proposed modified injunction contains the targeted level of specificity to
         address the underlying harm of overbreadth, thereby meeting the requirement of
         redressability of harm; Defendant’s proposed modified injunction does not.

         “Although a district court has considerable discretion in fashioning suitable relief and

defining the terms of an injunction, injunctive relief must be tailored to remedy the specific harm

alleged.” Flathead-Lolo-Bitterroot Citizen Task Force v. Montana, 98 F.4th 1180, 1195 (9th Cir.




4 Defendant also objects to the inclusion of those actions that the Ninth Circuit has held to be

categorically outside of the proper scope of Idaho Code § 18-623. See Response, at 6. The purpose
of including these provisions, however, is to ensure clarity about what the statute does not and
cannot prohibit. It eliminates questions about what the government may seek to enforce and
ensures that this lawful activity is not unconstitutionally chilled. In any event, there appears to be
no conceivable prejudice that would inure to the Defendant and others charged with enforcing
Idaho Code § 18-623 in describing and enjoining actions that are outside any proper application
of the statute.

REPLY IN SUPPORT OF MOTION TO MODIFY INJUNCTION - 6
128055417.1 0099880-01499
        Case 1:23-cv-00323-DKG           Document 57         Filed 02/27/25      Page 7 of 10




2024) (cleaned up). This tailoring involves two considerations. First, the terms must not be broader

than necessary to redress the injury shown by the plaintiffs. Id. But—as important—the injunction

must also be “no narrower than necessary to redress the injury” that the plaintiffs have established.

Id.

         There can be no meaningful dispute that an injunction must be sufficiently tailored and

specific to address the threatened harm. This rule traces itself back to the origins of equitable relief

at common law:

         We are dealing here with the requirements of equity practice with a background of
         several hundred years of history. Only the other day we stated that an appeal to the
         equity jurisdiction conferred on federal district courts is an appeal to the sound
         discretion which guides the determinations of courts of equity. The historic
         injunctive process was designed to deter, not to punish. The essence of equity
         jurisdiction has been the power of the Chancellor to do equity and to mould each
         decree to the necessities of the particular case. Flexibility rather than rigidity has
         distinguished it. The qualities of mercy and practicality have made equity the
         instrument for nice adjustment and reconciliation between the public interest and
         private needs as well as between competing private claims.

Hecht Co. v. Bowles, 321 U.S. 321, 329-30 (1944).

         Here, the threatened harm is facial overbreadth and the concomitant chilling of

constitutionally protected activity that follows in its wake. For this reason, the equitable remedy

needed to address this harm is an order that draws clear boundaries on what is constitutionally

permitted, despite the otherwise broad sweep of the statutory terms within Idaho Code § 18-623:

         The reason for the special rule in First Amendment cases is apparent: An overbroad
         statute might serve to chill protected speech. First Amendment interests are
         fragile interests, and a person who contemplates protected activity might be
         discouraged by the in terrorem effect of the statute. Indeed, such a person
         might choose not to speak because of uncertainty whether his claim of privilege
         would prevail if challenged. The use of overbreadth analysis reflects the
         conclusion that the possible harm to society from allowing unprotected speech to
         go unpunished is outweighed by the possibility that protected speech will be muted.




REPLY IN SUPPORT OF MOTION TO MODIFY INJUNCTION - 7
128055417.1 0099880-01499
        Case 1:23-cv-00323-DKG            Document 57        Filed 02/27/25      Page 8 of 10




Bates v. State Bar of Arizona, 433 U.S. 350, 380 (1977) (emphasis added). This assurance and

clarity to the public is particularly vital where, as here, the government appears to take the position

that they can seek to prosecute persons for actions that the Ninth Circuit has deemed to be within

the facially overbroad “recruitment” prong of the statute. See Response, generally.

         In addition, the Defendant’s protests that several of the identified activities within the

proposed injunction were not pled by the individual Plaintiffs in this case as activities they were

seeking to engage in misunderstands facial overbreadth. Facial overbreadth is different from other

types of constitutional harm:

         An overbreadth challenge is unusual. For one thing, litigants typically lack standing
         to assert the constitutional rights of third parties. For another, litigants mounting a
         facial challenge to a statute normally must establish that no set of circumstances
         exists under which the statute would be valid. Breaking from both of these rules,
         the overbreadth doctrine instructs a court to hold a statute facially
         unconstitutional even though it has lawful applications, and even at the behest
         of someone to whom the statute can be lawfully applied.

         We have justified this doctrine on the ground that it provides breathing room for
         free expression. Overbroad laws may deter or chill constitutionally protected
         speech, and if would-be speakers remain silent, society will lose their
         contributions to the marketplace of ideas. To guard against those harms, the
         overbreadth doctrine allows a litigant (even an undeserving one) to vindicate
         the rights of the silenced, as well as society's broader interest in hearing them
         speak. If the challenger demonstrates that the statute prohibits a substantial amount
         of protected speech relative to its plainly legitimate sweep, then society's interest
         in free expression outweighs its interest in the statute's lawful applications, and a
         court will hold the law facially invalid.

United States v. Hansen, 599 U.S. 762, 769–70 (2023) (cleaned up) (italics in the original) (bold

emphasis added). Accordingly, given the essential character of a finding of First Amendment

overbreadth, it is common (and frankly expected) that orders remeding this constitutional defect

would include the acts of the plaintiff, as well as the constitutionally protected activity of others

not before the court.




REPLY IN SUPPORT OF MOTION TO MODIFY INJUNCTION - 8
128055417.1 0099880-01499
        Case 1:23-cv-00323-DKG          Document 57        Filed 02/27/25     Page 9 of 10




         Here, the Plaintiffs have shown a substantial likelihood of success on the merits of their

claim that the recruitment prong of Idaho Code § 18-623 is unconstitutionally overbroad.

Matsumoto, 122 F.4th at 808-16. Based on this showing, this Court has both the authority and the

duty to enjoin enforcement of the offending provisions of the state law for all activities contained

within the facially overbroad portions of the statute. Cf. Ex parte Young, 209 U.S. 123 (1908).


                                          CONCLUSION

         For the reasons set forth above, Plaintiffs respectfully request that this Court modify its

current injunction to the injunction proposed by Plaintiffs. See Dkt. 55-1.

DATED: February 27, 2025.                          STOEL RIVES LLP



                                                   /s/ Wendy J. Olson
                                                   Wendy J. Olson


                                                   LEGAL VOICE


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REPLY IN SUPPORT OF MOTION TO MODIFY INJUNCTION - 9
128055417.1 0099880-01499
       Case 1:23-cv-00323-DKG        Document 57      Filed 02/27/25     Page 10 of 10




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on February 27, 2025, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system which sent a Notice of Electronic Filing to the
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REPLY IN SUPPORT OF MOTION TO MODIFY INJUNCTION - 10
128055417.1 0099880-01499
